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                            RUSS, AUGUST & KABAT
                        1   Marc A. Fenster, SBN 181067
                            Email: mfenster@raklaw.com
                        2   Paul A. Kroeger (CA SBN 229074)
                            Email: pkroeger@raklaw.com
                        3   Reza Mirzaie (CA SBN 246953)
                            Email: rmirzaie@raklaw.com
                        4   Neil A. Rubin (SBN 250761)
                            Email: nrubin@raklaw.com
                        5   12424 Wilshire Boulevard, 12th Floor
                            Los Angeles, California 90025
                        6   Telephone: (310) 826-7474
                            Facsimile: (310) 826-6991
                        7
                            Attorneys for Plaintiffs
                        8   OYSTER OPTICS, LLC
                        9                                UNITED STATES DISTRICT COURT
                                                       NORTHERN DISTRICT OF CALIFORNIA
                       10
                                                              OAKLAND DIVISION
                       11
RUSS, AUGUST & KABAT




                       12   OYSTER OPTICS, LLC, a Texas Corporation,
                       13                                                 CASE NO. 4:21-CV-02241
                                                  PLAINTIFF;
                       14                                                COMPLAINT FOR PATENT
                                           v.                            INFRINGEMENT
                       15
                            CIENA CORPORATION, a Delaware
                       16   Corporation;
                       17                         DEFENDANT.
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                                                                   COMPLAINT
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                        1            Plaintiff Oyster Optics, LLC (“Oyster” or “Plaintiff”) files this complaint against

                        2   Defendant Ciena Corporation (“Ciena” or “Defendant”), alleging infringement of U.S. Patent Nos.
                        3   6,469,816, 6,476,952, 6,594,055, and 7,620,327.

                        4                  PLAINTIFF OYSTER OPTICS AND THE PATENTS IN SUIT
                        5
                                     1.    Plaintiff Oyster Optics, LLC is a technology licensing company organized under
                        6
                        7   the laws of Texas, and has a place of business at 11921 Freedom Drive, Suite 550, Reston, VA

                        8   20190.

                        9            2.    In the early 2000s, Oyster Optics, Inc., a research, development, and engineering
                       10
                            company, was focused upon innovation in government, commercial, security, and broad-band
                       11
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                            applications of leading edge fiber optics technology. Mr. Peter (“Rocky”) Snawerdt was at
                       12
                            Oyster Optics, Inc. when he invented the subject matter of U.S. Patent Nos. 6,469,816;
                       13
                            6,476,952; 6,594,055 and 7,620,327 (collectively, “asserted patents” or “patents-in-suit”).
                       14
                       15            3.    Oyster is the owner by assignment of United States Patent No. 6,469,816 (“the

                       16   ’816 Patent”) entitled “Phase-Modulated Fiber Optic Telecommunications System.” The ’816
                       17   Patent was duly and legally issued by the United States Patent and Trademark Office on October
                       18
                            22, 2002. A true and correct copy of the ’816 Patent is included as Exhibit A.
                       19
                                     4.    Oyster is the owner by assignment of United States Patent No. 6,476,952 (“the
                       20
                            ’952 Patent”) entitled “Phase-Modulated Fiber Optic Telecommunications System.” The ’952
                       21
                       22   Patent was duly and legally issued by the United States Patent and Trademark Office on

                       23   November 5, 2002. A true and correct copy of the ’952 Patent is included as Exhibit B.

                       24            5.    Oyster is the owner by assignment of United States Patent No. 6,594,055 (“the
                       25   ’055 Patent”) entitled “Secure Fiber Optic Telecommunications System and Method.” The ’055
                       26
                            Patent was duly and legally issued by the United States Patent and Trademark Office on July 15,
                       27
                            2003. A true and correct copy of the ’055 Patent is included as Exhibit C.
                       28
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                                                                       COMPLAINT
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                                   6.      Oyster is the owner by assignment of United States Patent No. 7,620,327 (“the
                        1

                        2   ’327 Patent”) entitled “Fiber Optic Telecommunications Card with Energy Level Monitoring.”

                        3   The ’327 Patent was duly and legally issued by the United States Patent and Trademark Office

                        4   on November 17, 2009. A true and correct copy of the ’327 Patent is included as Exhibit D.
                        5
                                                        DEFENDANT CIENA CORPORATION
                        6
                        7          7.      Defendant Ciena Corporation is a Delaware corporation. Ciena has a regular and

                        8   established place of business within this District including at 3939 N. First Street, San Jose,

                        9   California.

                       10                                    JURISDICTION AND VENUE

                       11          8.      This action arises under the patent laws of the United States, Title 35 of the United
RUSS, AUGUST & KABAT




                       12   States Code. This Court has original subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

                       13   1338(a).

                       14          9.      The Court has personal jurisdiction over Defendants. Defendants have regular and

                       15   established places of business within this district and have committed acts of infringement within

                       16   this district (e.g., selling and using Accused Products). Defendants have established minimum

                       17   contacts with the State of California such that the exercise of jurisdiction over Defendants would

                       18   not offend traditional notions of fair play and substantial justice.

                       19          10.     Venue is proper in this district under 28 U.S.C. §1400(b) and 28 U.S.C. §§ 1391(c).

                       20   Defendants have regular and established places of business in this district as set forth above.

                       21                                                COUNT I

                       22                              INFRINGEMENT OF THE ’816 PATENT

                       23
                                   11.     Oyster references and incorporates by reference paragraphs 1 through 10 of this
                       24
                            Complaint.
                       25
                                   12.     On information and belief, Defendant makes, uses, offers for sale and/or sells in
                       26
                       27   the United States products and/or services that infringe various claims of the ’816 Patent, and

                       28   continues to do so. By way of illustrative example, Ciena’s infringing products include without

                                                                              2
                                                                         COMPLAINT
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                            limitation the WaveLogic T2 and R2, ActiveFlex 6500 Packet-Optical Platform, and ActiveSpan
                        1

                        2   4200 Advanced Services Platform.

                        3          13.      Defendant also knowingly and intentionally induces infringement of the claims of

                        4   the ’816 Patent in violation of 35 U.S.C. § 271(b). Since At least the filing and service of the
                        5
                            Complaint in Oyster Optics, LLC v. Ciena Corporation, United States District Court for the
                        6
                            Eastern District of Texas, Case No. 2:16-cv-01300, Defendant has had knowledge of the ’816
                        7
                            Patent and the infringing nature of the Accused Products. Despite this knowledge of the ’816
                        8
                            Patent, Defendant continues to actively encourage and instruct its customers and end users (for
                        9
                       10   example, through user manuals and online instruction materials on its website) to use the Accused

                       11   Products in ways that directly infringe the ’816 Patent. Defendant does so knowing and intending
RUSS, AUGUST & KABAT




                       12   that its customers and end users will commit these infringing acts. Defendant also continues to
                       13
                            make, use, offer for sale, sell, and/or import the Accused Products, despite its knowledge of the
                       14
                            ’816 Patent, thereby specifically intending for and inducing its customers to infringe the ’816
                       15
                            Patent through the customers’ normal and customary use of the Accused Products.
                       16
                       17          14.      The Accused Products satisfy all claim limitations of the claims of the ’816 Patent.

                       18   A claim chart comparing independent claim 1 of the ’816 Patent to the representative Accused

                       19   Product, Ciena’s ActiveFlex 6500 Packet-Optical Platform with WaveLogic T2 40G, is attached
                       20   as Exhibit E.
                       21
                                   15.      By making, using, offering for sale, selling and/or importing into the United States
                       22
                            the Accused Products, Defendant has injured Plaintiff and is liable for infringement of the ’816
                       23
                            Patent pursuant to 35 U.S.C. § 271.
                       24
                       25          16.      As a result of Defendant’s infringement of the ’816 Patent, Plaintiff is entitled to

                       26   monetary damages in an amount adequate to compensate for Defendant’s infringement, but in no

                       27   event less than a reasonable royalty for the use made of the invention by Defendant, together with
                       28
                            interest and costs as fixed by the Court.
                                                                             3
                                                                        COMPLAINT
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                        1                                              COUNT II

                        2             INFRINGEMENT OF U.S. PATENT NO. 6,476,952 AGAINST CIENA
                        3
                                   17.     Oyster references and incorporates by reference paragraphs 1 through 16 of this
                        4
                        5   Complaint.

                        6          18.     On information and belief, Defendant makes, uses, offers for sale and/or sells in

                        7   the United States products and/or services that infringe various claims of the ’952 Patent, and
                        8
                            continues to do so. By way of illustrative example, Ciena’s infringing products include without
                        9
                            limitation the WaveLogic T2 and R2, ActiveFlex 6500 Packet-Optical Platform, and ActiveSpan
                       10
                            4200 Advanced Services Platform.
                       11
RUSS, AUGUST & KABAT




                                   19.     Defendant also knowingly and intentionally induces infringement of the claims of
                       12
                       13   the ’952 Patent in violation of 35 U.S.C. § 271(b). Since At least the filing and service of the

                       14   Complaint in Oyster Optics, LLC v. Ciena Corporation, United States District Court for the
                       15   Eastern District of Texas, Case No. 2:16-cv-01300, Defendant has had knowledge of the ’952
                       16
                            Patent and the infringing nature of the Accused Products. Despite this knowledge of the ’952
                       17
                            Patent, Defendant continues to actively encourage and instruct its customers and end users (for
                       18
                            example, through user manuals and online instruction materials on its website) to use the Accused
                       19
                       20   Products in ways that directly infringe the ’952 Patent. Defendant does so knowing and intending

                       21   that its customers and end users will commit these infringing acts. Defendant also continues to

                       22   make, use, offer for sale, sell, and/or import the Accused Products, despite its knowledge of the
                       23   ’952 Patent, thereby specifically intending for and inducing its customers to infringe the ’952
                       24
                            Patent through the customers’ normal and customary use of the Accused Products.
                       25
                                   20.     The Accused Products satisfy all claim limitations of the claims of the ’952 Patent.
                       26
                            A claim chart comparing independent claim 1 of the ’952 Patent to the representative Accused
                       27
                       28

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                                                                        COMPLAINT
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                            Product, Ciena’s ActiveFlex 6500 Packet-Optical Platform with WaveLogic T2 40G, is attached
                        1

                        2   as Exhibit F.

                        3          21.      By making, using, offering for sale, selling and/or importing into the United States

                        4   the Accused Products, Defendant has injured Plaintiff and is liable for infringement of the ’952
                        5
                            Patent pursuant to 35 U.S.C. § 271.
                        6
                                   22.      As a result of Defendant’s infringement of the ’952 Patent, Plaintiff is entitled to
                        7
                            monetary damages in an amount adequate to compensate for Defendant’s infringement, but in no
                        8
                            event less than a reasonable royalty for the use made of the invention by Defendant, together with
                        9
                       10   interest and costs as fixed by the Court.

                       11
                                                                        COUNT III
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                       12
                                       INFRINGEMENT OF U.S. PATENT NO. 6,594,055 AGAINST CIENA
                       13
                       14          23.      Oyster references and incorporates by reference paragraphs 1 through 22 of this
                       15   Complaint.
                       16
                                   24.      On information and belief, Defendant makes, uses, offers for sale and/or sells in
                       17
                            the United States products and/or services that infringe various claims of the ’055 Patent, and
                       18
                            continues to do so. By way of illustrative example, Ciena’s infringing products include without
                       19
                       20   limitation the WaveLogic T2 and R2, ActiveFlex 6500 Packet-Optical Platform, and ActiveSpan

                       21   4200 Advanced Services Platform.

                       22          25.      Defendant also knowingly and intentionally induces infringement of the claims of
                       23   the ’816 Patent in violation of 35 U.S.C. § 271(b). Since At least the filing and service of the
                       24
                            Complaint in Oyster Optics, LLC v. Ciena Corporation, United States District Court for the
                       25
                            Eastern District of Texas, Case No. 2:16-cv-01300, Defendant has had knowledge of the ’055
                       26
                            Patent and the infringing nature of the Accused Products. Despite this knowledge of the ’055
                       27
                       28   Patent, Defendant continues to actively encourage and instruct its customers and end users (for

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                                                                        COMPLAINT
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                            example, through user manuals and online instruction materials on its website) to use the Accused
                        1

                        2   Products in ways that directly infringe the ’055 Patent. Defendant does so knowing and intending

                        3   that its customers and end users will commit these infringing acts. Defendant also continues to

                        4   make, use, offer for sale, sell, and/or import the Accused Products, despite its knowledge of the
                        5
                            ’055 Patent, thereby specifically intending for and inducing its customers to infringe the ’055
                        6
                            Patent through the customers’ normal and customary use of the Accused Products.
                        7
                                   26.      The Accused Products satisfy all claim limitations of the claims of the ’055 Patent.
                        8
                            A claim chart comparing independent claim 1 of the ’055 Patent to the representative Accused
                        9
                       10   Product, Ciena’s ActiveFlex 6500 Packet-Optical Platform with WaveLogic T2 40G, is attached

                       11   as Exhibit G.
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                       12          27.      By making, using, offering for sale, selling and/or importing into the United States
                       13
                            the Accused Products, Defendant has injured Plaintiff and is liable for infringement of the ’055
                       14
                            Patent pursuant to 35 U.S.C. § 271.
                       15
                                   28.      As a result of Defendant’s infringement of the ’055 Patent, Plaintiff is entitled to
                       16
                       17   monetary damages in an amount adequate to compensate for Defendant’s infringement, but in no

                       18   event less than a reasonable royalty for the use made of the invention by Defendant, together with

                       19   interest and costs as fixed by the Court.
                       20
                                                                        COUNT IV
                       21
                                       INFRINGEMENT OF U.S. PATENT NO. 7,620,327 AGAINST CIENA
                       22
                       23          29.      Oyster references and incorporates by reference paragraphs 1 through 27 of this
                       24
                            Complaint.
                       25
                                   30.      On information and belief, Defendant makes, uses, offers for sale and/or sells in
                       26
                            the United States products and/or services that infringe various claims of the ’327 Patent, and
                       27
                       28   continues to do so. By way of illustrative example, Ciena’s infringing products include without

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                                                                        COMPLAINT
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                            limitation the WaveLogic T2 and R2, ActiveFlex 6500 Packet-Optical Platform, and ActiveSpan
                        1

                        2   4200 Advanced Services Platform.

                        3          31.      Defendant also knowingly and intentionally induces infringement of the claims of

                        4   the ’327Patent in violation of 35 U.S.C. § 271(b). Since At least the filing and service of the
                        5   Complaint in Oyster Optics, LLC v. Ciena Corporation, United States District Court for the
                        6
                            Eastern District of Texas, Case No. 2:16-cv-01300, Defendant has had knowledge of the ’327
                        7
                            Patent and the infringing nature of the Accused Products. Despite this knowledge of the ’327
                        8
                            Patent, Defendant continues to actively encourage and instruct its customers and end users (for
                        9
                       10   example, through user manuals and online instruction materials on its website) to use the Accused

                       11   Products in ways that directly infringe the ’327 Patent. Defendant does so knowing and intending
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                       12   that its customers and end users will commit these infringing acts. Defendant also continues to
                       13
                            make, use, offer for sale, sell, and/or import the Accused Products, despite its knowledge of the
                       14
                            ’327 Patent, thereby specifically intending for and inducing its customers to infringe the ’327
                       15
                            Patent through the customers’ normal and customary use of the Accused Products.
                       16
                                   32.      The Accused Products satisfy all claim limitations of the claims of the ’327 Patent.
                       17

                       18   A claim chart comparing independent claim 1 of the ’327 Patent to the representative Accused

                       19   Product, Ciena’s ActiveFlex 6500 Packet-Optical Platform with WaveLogic T2 40G, is attached
                       20   as Exhibit H.
                       21
                                   33.      By making, using, offering for sale, selling and/or importing into the United States
                       22
                            the Accused Products, Defendant has injured Plaintiff and is liable for infringement of the ’327
                       23
                            Patent pursuant to 35 U.S.C. § 271.
                       24

                       25          34.      As a result of Defendant’s infringement of the ’327 Patent, Plaintiff is entitled to

                       26   monetary damages in an amount adequate to compensate for Defendant’s infringement, but in no

                       27   event less than a reasonable royalty for the use made of the invention by Defendant, together with
                       28   interest and costs as fixed by the Court.
                                                                             7
                                                                        COMPLAINT
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                        1

                        2                                        PRAYER FOR RELIEF
                        3           WHEREFORE, Oyster respectfully requests that this Court enter:

                        4           a.       A judgment in favor of Plaintiff that Ciena infringed, either literally and/or under
                        5   the doctrine of equivalents, U.S. Patent Nos. 6,469,816, 6,476,952, 6,594,055, and 7,620,327;
                        6           b.       A judgment and order requiring Defendants to pay Plaintiff its damages, costs,
                        7   expenses, and prejudgment and post-judgment interest for its infringement of U.S. Patent Nos.
                        8   6,469,816, 6,476,952, 6,594,055, and 7,620,327; and
                        9           c.       A judgment and order requiring Defendants to provide an accounting and to pay
                       10   supplemental damages to Oyster, including without limitation, prejudgment and post-judgment
                       11   interest;
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                       12           d.       A judgment and order finding that this is an exceptional case within the meaning
                       13   of 35 U.S.C. § 285 and awarding to Plaintiff its reasonable attorneys’ fees against Defendants; and
                       14           e.       Any and all other relief as the Court may deem appropriate and just under the
                       15   circumstances.
                       16                                     DEMAND FOR JURY TRIAL
                       17           Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of
                       18   any issues so triable by right.
                                                                              Respectfully submitted,
                       19
                       20   DATED: March 30, 2021                             RUSS, AUGUST & KABAT
                       21
                                                                              /s/ Paul A. Kroeger
                       22                                                     Marc A. Fenster, SBN 181067
                                                                              Email: mfenster@raklaw.com
                       23                                                     Paul A. Kroeger (CA SBN 229074)
                                                                              Email: pkroeger@raklaw.com
                       24                                                     Reza Mirzaie (CA SBN 246953)
                                                                              Email: rmirzaie@raklaw.com
                       25                                                     12424 Wilshire Boulevard, 12th Floor
                                                                              Los Angeles, California 90025
                       26                                                     Telephone: (310) 826-7474
                                                                              Facsimile: (310) 826-6991
                       27
                                                                              Attorneys for Plaintiff
                       28                                                     OYSTER OPTICS, LLC
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                                                                         COMPLAINT
